                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In the Matter of:                               }
STEPHON WOODS                                   }   CASE NO. 19-81105-CRJ-13
SSN: XXX-XX-6547                                }
                                                }   CHAPTER 13
                      Debtor(s).                }

STEPHON WOODS                                   }   AP NO. 19-80044-CRJ-13
                                                }
                      Plaintiff(s),             }
       v.                                       }
                                                }
FINANCIAL RECOVERY SERVICES, INC.,              }
WEBFINANCIAL HOLDING CORP., D/B/A               }
WEBBANK, and FINGERHUT                          }
                                                }
                      Defendant(s).             }

            ORDER VACATING ORDER TO SHOW CAUSE WHY SANCTIONS
                SHOULD NOT BE IMPOSED AGAINST DEFENDANT
                   PURSUANT TO BANKRUPTCY RULE 9011(b)(2)

       On September 19, 2019, the Court entered an Order to Show Cause why Sanctions Should
not be Imposed Against Defendant Financial Recovery Services, Inc. pursuant to Bankruptcy Rule
9011(b)(2) based upon Defendant’s assertion of certain affirmative defenses challenging this
Court’s authority to enter a final order awarding punitive damages pursuant to 11 U.S.C. § 362(k)
based upon Alabama law and the Constitution of the State of Alabama. Prior to the hearing
scheduled on October 23, 2019, the Defendant filed a Reply to Show Cause Order (“Reply”),
requesting permission to file an Amended Answer, attached as Exhibit A to the Reply, in which
the Defendant no longer challenges the Court’s authority to enter a final order awarding punitive
damages pursuant to 11 U.S.C. § 362(k) based upon state law.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Order to
Show Cause why Sanctions Should not be Imposed Against Defendant pursuant to Bankruptcy
Rule 9011(b)(2) is hereby VACATED. The Defendant is hereby granted leave to file the
Amended Answer.

Dated this the 25th day of September, 2019.
                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




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